      CASE 0:09-cv-01279-MJD-AJB Document 47 Filed 02/24/11 Page 1 of 1


                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA


James A. Bartholomew and Lighthouse
Management Group, Inc., as Receiver for           Court File No. 09-CV-01279 (MJD-AJB)
Lakeland Construction Finance, LLC,

                     Plaintiffs,                PLACEHOLDER FOR AFFIDAVIT OF
                                                      LL. RHYDDID WATKINS
       vs.
                                                   IN SUPPORT OF PLAINTIFFS’
Avalon Capital Group, Inc.,                      MOTION TO COMPEL DISCOVERY
                                                AND CERTIFICATION OF ATTEMPT
                     Defendant.                     TO RESOLVE MATTER AND
                                                  EXHIBITS A-SS TO AFFIDAVIT
                                                    OF LL. RHYDDID WATKINS


This document is a place holder for the following item(s) which are filed in conventional
or physical form with the Clerk's Office:

   • AFFIDAVIT OF LL. RHYDDID WATKINS IN SUPPORT OF
     PLAINTIFFS’ MOTION TO COMPEL DISCOVERY AND
     CERTIFICATION OF ATTEMPT TO RESOLVE MATTER

   • EXHIBITS A-SS TO AFFIDAVIT OF LL. RHYDDID WATKINS

If you are a participant in this case, this filing will be served upon you in conventional
format.

This filing was not e-filed for the following reason(s):

X Item Under Seal pursuant to a court order* (Document number of protective order:40 )

* Filing of these items requires Judicial Approval.

E-file this place holder in ECF in place of the documents filed conventionally. File a
copy of this Placeholder and a copy of the NEF with the Clerk's Office along with the
conventionally filed item(s).
